Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 1 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 2 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 3 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 4 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 5 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 6 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 7 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 8 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 9 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 10 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 11 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 12 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 13 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 14 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 15 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 16 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 17 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 18 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 19 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 20 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 21 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 22 of 23




                                                              EXHIBIT 1
Case 2:21-cv-01578-BJR Document 1-1 Filed 11/22/21 Page 23 of 23




                                                              EXHIBIT 1
